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______________________________________________________________
JOSEPH FURLIPA, an infant, by his                                :            IN THE UNITED STATES
Parents and Natural Guardians,                                   :           DISTRICT COURT FOR THE
MICHELLE FURLIPA and MARTIN                                      :               MIDDLE DISTRICT
FURLIPA, and MICHELLE FURLIPA and                                :              OF PENNSYLVANIA
MARTIN FURLIPA, Individually,                                    :
                                                                 :                  CIVIL ACTION – LAW
                                        Plaintiffs               :
          v.                                                     :                     [FILED VIA ECF]
                                                                 :
STEPHEN J. PUGLIESE and MARY H.                                  :                       CASE NO.: 3:CV-
WILLIAMS,                                                        :
                                                                 :                    (JUDGE               )
                                       Defendants                :

                                                         COMPLAINT

          The plaintiffs, JOSEPH FURLIPA, an infant, by his Parents and Natural

Guardians, MICHELLE FURLIPA and MARTIN FURLIPA, and MICHELLE FURLIPA

and MARTIN FURLIPA, Individually, by and through their undersigned attorneys,

WRIGHT & REIHNER, P.C. and SOBO & SOBO, L.L.P., hereby assert the following
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Complaint against the Defendants, STEPHEN J. PUGLIESE and MARY H.

WILLIAMS, averring as follows:

                            I.    STATEMENT OF CASE

      1.    The plaintiffs bring this action for damages sustained by JOSEPH

FURLIPA, an infant, for the pain, suffering, and loss of enjoyment of life as a result

of a dog attack.

                                   II.   PARTIES

      2.    The plaintiff, JOSEPH FURLIPA, at all times hereto, was and still is an

infant who is a citizen and resident of the State of New York, residing at 422 County

Route 31, Glen Spey, New York 12737.

      3.    The plaintiff MICHELLE FURLIPA, is an adult individual and the mother

and natural guardian of JOSEPH FURLIPA, who at all times hereto was and still is a

citizen and resident of the State of New York, residing at 422 County Route 31,

Glen Spey, New York 12737.

      4.    The plaintiff MARTIN FURLIPA, is an adult individual and the father and

natural guardian of JOSEPH FURLIPA, who at all times hereto was and still is a

citizen and resident of the State of New York, residing at 422 County Route 31,

Glen Spey, New York 12737.



      5.    Upon information and belief, the defendant, STEPHEN J. PUGLIESE, at
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all times material hereto, was and still is a resident and citizen of the

Commonwealth of Pennsylvania, residing at 30 Parker Road, Honesdale, PA

18431.

      6.    Upon information and belief, the defendant, MARY H. WILLIAMS, at all

times material hereto, was and still is a resident and citizen of the Commonwealth

of Pennsylvania, residing at 31 Parker Road, Honesdale, PA 18431.

                            III.   JURISDICTION AND VENUE

      7.    Jurisdiction exists against the defendants pursuant to 28 U.S.C. § 1332

in that the plaintiffs are citizens and residents of the State of New York; the

defendant, STEPHEN J. PUGLIESE, is a citizen and resident of the Commonwealth

of Pennsylvania; the defendant, MARY H. WILLIAMS, is a citizen and a resident of

the Commonwealth of Pennsylvania; and the amount in controversy exceeds the

sum of $75,000.00, exclusive of interest and costs.

      8.    Venue exists pursuant to 28 U.S.C. § 1391, in that jurisdiction is

founded on the diversity of citizenship only and this claim arose in the Middle

District of Pennsylvania.




                                      IV.   FACTS

      9.    Plaintiffs incorporate Paragraph 1 through 8 of their complaint as if fully
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set forth herein.

      10.   Upon information and belief, at all times relevant hereto, the defendant,

STEPHEN J. PUGLIESE, was the owner of a certain premises located at 30 Parker

Road, Honesdale, Pennsylvania.

      11.   Upon information and belief, at all times relevant hereto, the defendant,

MARY H. WILLIAMS, was the owner of a certain dog known as “Storm” which was

maintained at the WILLIAMS’ premises of 31 Parker Road which was located next

door to the PUGLIESE’S premises of 30 Parker Road.

      12.   On or about the 5th day of March 2006, the Plaintiffs were lawfully on the

premises owned by the defendant, STEPHEN J. PUGLIESE in order to look at a car

that the defendant, STEPHEN J. PUGLIESE, had advertised for sale in the

newspaper.

      13.   While there, several dogs, including Storm, approached the car and

began to lick the infant plaintiff, JOSEPH FURLIPA, through the window. Upon

being asked by the Plaintiffs if the dogs were safe, the defendant, STEPHEN J.

PUGLIESE, indicated in the affirmative.



      14.   The infant plaintiff, JOSEPH FURLIPA, exited the vehicle and shortly

thereafter, the above-referenced dog owned by the defendant, MARY H.

WILLIAMS, attacked, threatened, menaced, harassed, mauled, bit, scratched
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and/or intimidated the infant plaintiff, causing him to sustain severe and serious

personal injures.

                             COUNT I. NEGLIGENCE
               JOSEPH FURLIPA, an infant, by his Parents and Natural
               Guardians, MICHELLE FURLIPA and MARTIN FURLIPA,
             and MICHELLE FURLIPA and MARTIN FURLIPA, Individually
                 v. STEPHEN J. PUGLIESE and MARY H. WILLIAMS

      15.     The plaintiffs incorporate Paragraphs 1 through 14 as if fully set forth

herein.

      16.     The aforesaid accident and injuries were caused by the negligence,

wanton, reckless and careless acts of the defendants herein.

      17.     At the time of the aforementioned incident, the aforesaid injuries were

caused by the negligent, wanton and reckless acts of the defendants consisting of the

following:

              a.    allowing, causing and/or permitting the dog to run loose at the
                    premises when the defendants knew or should have known of the
                    propensities of the dog;

              b.    failing to properly and adequately restrain the dog;

              c.    failing to keep the dog restrained by a leash and/or penned;

              d.    failing to keep the dog under control;

              e.    failing to take those steps necessary to avoid the contingency
                    which occurred;

              f.    failing to use that degree of caution, prudence and care which was
                    reasonable and proper under the controlling circumstances;
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g.    failing to properly muzzle the dog;

h.    failing to warn the plaintiffs of the dog’s vicious propensities and
      of the dangerous conditions described herein;

i.    failing to act in the face of actual and constructive notice of the
      dangers that existed;

j.    failing to supervise with reasonable care;

k     failing to provide a safe environment;

l.    failing to take those steps necessary to avoid the contingency
      which occurred herein;

m.    failing to inspect and report of dangers at the location described;

n.    failing to use that degree of caution, prudence, and care which
      was reasonable and proper under the controlling circumstances;

o.    failing to take cognizance of the notorious and hazardous
      conditions which in the exercise of reasonable diligence should
      have been known and recognized;

p.    acting with reckless disregard for the safety of others;

q.    allowing, causing and/or permitting the dog to attack, threaten,
      menace, harass, maul, bite, scratch and/or intimidate the Infant
      Plaintiff when the defendants knew or should have known of the
      propensities of the animal;


r.    in negligently allowing and permitting a dangerous and vicious
      animal to be kept on the premises;

s.    in violating statutes, rules, regulations, and ordinances concerning
      the proper restraint and control of the dog;
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            t.     in failing to control said dog despite knowledge of the dangerous
                   propensities of the animal.

      18.   The defendants had actual and/or constructive notice of the dangerous

propensities of the dog in that they existed for a sufficient length of time prior to the

happening of the within incident and in the exercise of reasonable care, the

defendants could have and should have had knowledge and notice thereof.

      19.   By reason of the foregoing, JOSEPH FURLIPA was caused to suffer

great physical pain and suffering, mental anguish, and emotional distress,

discomfort, inconvenience, embarrassment and humiliation, disfigurement, and loss

of the ability to enjoy the pleasures of life.

      20.   Plaintiff, JOSEPH FURLIPA, an infant, by his Parents and Natural

Guardians, MICHELLE FURLIPA and MARTIN FURLIPA, and MICHELLE FURLIPA

and MARTIN FURLIPA, Individually, were caused to expend and become obligated

for diverse sums of money for the purpose of obtaining medical care and/or cure in

an effort to alleviate the suffering and ills sustained as a result of this accident.



      21.   Infant plaintiff also maintains that the defendants’ carelessness,

recklessness and negligence constitute outrageous conduct for which punitive

damages should be awarded.

            WHEREFORE, Plaintiffs respectfully ask that this Honorable Court enter
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judgment in their favor and against the defendants in excess of Seventy-Five

Thousand ($75,000.00) Dollars plus interest and costs, and punitive damages to be

determined by the trier of fact.

                                         WRIGHT & REIHNER, P.C.

                                         BY: /s/ Danielle M. Mulcahey
                                         JOSEPH T. WRIGHT, JR, ESQ.
                                         DANIELLE M. MULCAHEY, ESQ.

                                         Associate Counsel for Plaintiffs

                                         SOBO & SOBO, LLP
                                         BY: Gregory M. Sobo, Esq.

                                         Attorneys for Plaintiff(s)




DATED: June 6, 2006
